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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

THOMAS FOWLER                                 |
                                              |
            Plaintiff                         |
                                              |
            v.                                |       Case No. 1:21-cv-02430-JRR
                                              |
TENTH PLANET, INC., et al.                    |
                                              |
            Defendant                         |

                 DEFENDANTS’, TENTH PLANET, INC. AND JUSTINE ZEGNA,
                 OPPOSITION TO PLAINTIFF’S, THOMAS FOWLER, MOTION
                          FOR ATTORNEYS’ FEES AND COSTS

            Tenth Planet, Inc. (“Tenth Planet”) and Justine Zegna (“Ms. Zegna”) (collectively,

“Defendants”), in the above-entitled action, by and through their undersigned counsel, hereby

oppose the Motion for Attorneys’ Fees and Costs (“the Motion”) filed by Plaintiff, Thomas Fowler

(“Plaintiff” or “Mr. Fowler”), and respectfully request that this Court make a substantially reduced

award of attorneys’ fees and costs to Plaintiff. As grounds therefore, Defendants state the

following:

       I.           STATEMENT OF FACTS

         On September 22, 2021, Plaintiff filed his Complaint, alleging violations of the Fair Labor

Standards Act (“FLSA”), the Maryland Wage and Hour Law (“MWHL”), and the Maryland Wage

Payment and Collection Law (“MWPCL”) during the time he worked at Blacksmith Bar &

Restaurant (“Blacksmith”), which is owned by Defendant, Tenth Planet (Ms. Zegna, in turn, owns

Tenth Planet). ECF No. 1. In the Complaint, Plaintiff took the position that he was “hired and

worked as a cook.” ECF No. 1 ¶ 27.

         Knowing that to be false, on November 22, 2021, before even filing an Answer, Defendants

sent a letter to Plaintiff’s counsel noting that Plaintiff had been hired and worked as a manager.

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Exhibit A – Letter from Feinberg to Hoffman, Nov. 22, 2021. The letter noted Plaintiff’s job

duties, that he was paid in the same manner as other managers (and different from the manner in

which line cooks were paid), the background on Plaintiff’s shift from hourly pay to salary, the fact

of Plaintiff’s representations to employees that he was their manager. Id. at 1-2. The letter closed

by offering a nuisance settlement in an effort to avoid the costs of litigation. Id. at 3.

         Following the pleadings stage and in accordance with Judge Blake’s memorandum to

counsel, on December 13, 2021, Defendants timely requested that Plaintiff preserve evidence that

bore upon the parties’ competing claims. ECF No. 8; Exhibit B – Email from Feinberg to Hoffman,

Dec. 13, 2021. Indeed, Defendants, through counsel, notified Plaintiff that although “[Defendants

did not] anticipate non-standard discovery of electronically stored information [would] be

necessary. There will likely be some text messages and emails . . . .” Exhibit B (emphasis added).

         On December 14, 2021, Plaintiff’s counsel emailed Defendants’ counsel stating “[w]ith

respect to the letter [of November 22, 2021], I will send you a more detailed response but suffice

it to say, my client does not agree that he was an exempt supervisor at any time during his

employment.” Exhibit C – Email from Hoffman to Feinberg, Dec. 14, 2021. Plaintiff’s counsel

never provided the “more detailed response” promised in the December 14, 2021 email, and

Plaintiff did not provide a counter-offer for settlement. Exhibit D – Declaration of Matthew

Feinberg ¶ 5.

         On January 31, 2022, Defendants’ counsel emailed Plaintiff’s counsel again regarding

settlement. Exhibit E – Email from Feinberg to Hoffman and Liew, Jan. 31, 2022. The email

attached written statements from Tenth Planet employees confirming that Plaintiff was a manager

during his employment with the company and noted that Plaintiff had prepared a mortgage




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application during his employment on which he disclosed his job title as “Manager.” 1 Id.

Defendants’ counsel noted that Plaintiff had not provided the “more detailed response” to

Defendants’ proof that Plaintiff was a manager and re-iterated the prior nuisance settlement offer

originally made on November 22, 2021. Id. Plaintiff did not respond or make a counter-offer.

Exhibit D ¶ 6. From Plaintiff’s counsel’s billing records, it does not appear that the offer was

relayed or written statements provided to Plaintiff. ECF No. 73-2 at 8.

         Meanwhile, the parties engaged in discovery. On January 19, 2022, Plaintiff served

interrogatories and requests for production of documents via email. Exhibit D ¶ 7. On February

15, 2022, Defendants requested an extension of the deadline for responding to March 11, 2022,

and subsequently an additional extension to March 14, 2022. Id. ¶¶ 8-9. Defendants provided

responses shortly after midnight on March 15, 2022. Id. ¶ 10. On March 17, 2022, Defendants

provided additional responsive documents. Id. ¶ 11. On April 6, 2022, Plaintiff raised a discovery

dispute, requesting production of some documents and re-production of others. Exhibit F – Email

String Between Liew and Feinberg, Apr. 6, 2022-Apr. 12, 2022. Plaintiff’s counsel noted that

Plaintiff had “some concerns regarding certain objections and responses to our written discovery,

but I will address in a follow up email.” Id. Defendants’ counsel agreed to supplement the

production when the documents were received. Id. Plaintiff’s counsel did not sent the “follow up

email.” Exhibit D ¶ 12.

         Despite Defendants’ counsel’s promise to provide supplementation of documents, on April

13, 2022, Plaintiff served a 25-page motion to compel answers to interrogatories and 10-page

motion to compel first set of requests for production of documents. Exhibit G – Email from Liew



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       It appears the mortgage application was not attached to the email at the time. However,
the document was subsequently produced in discovery. Exhibit F – Plaintiff Mortgage Application
Excerpt.
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to Feinberg, Apr. 13, 2022, with attachments. The motions raised a number of purported issues

not previously disclosed to Defendants’ counsel and about which Plaintiff’s counsel made no effort

to “resolve informally (by oral or written communications),” as required by the Local Rules of this

Court. LCvR 104(8) (service of a motion to compel is permissible only after the party “has been

unable to resolve” the discovery dispute informally). On April 19, 2022, Defendants’ counsel sent

an email to Plaintiff’s counsel attempting to resolve the discovery dispute before being forced to

draft an opposition to the motions to compel. Exhibit H – Email from Feinberg to Liew, Apr. 19,

2022. On April 28, 2022, the parties engaged in a meet and confer regarding discovery and reached

agreement with regard to a number of issues. Exhibit I – Email from Liew to Feinberg, Apr. 28,

2022. On April 29, 2022, Defendants’ counsel reached out to Plaintiff’s counsel by email to

confirm that the parties had resolved their disputes. Exhibit J – Email from Kreiser to Liew, Apr.

29, 2022. Despite the fact that Plaintiff’s counsel was working on this case on that date, Plaintiff’s

counsel did not respond. Exhibit D ¶ 14; ECF No. 73-2 at 14. On May 4, 2022, having received

no response to the inquiry, Defendants’ counsel submitted an opposition to the motion to compel

answers to interrogatories. Exhibit K – Email from Feinberg to Liew, May 4, 2022, with

attachments. Thereafter, Plaintiff’s counsel dropped the discovery dispute. Exhibit D ¶ 15.

         On September 15, 2022, Defendants served written discovery requests on Plaintiff via

email. On October 19, 2022, Plaintiff submitted responses. The responses, for the first time,

acknowledged that Plaintiff was a manager at Blacksmith but claimed that he was promoted to that

position in early October 2019. Exhibit L – Plaintiff Answers to Interrogatories at Ans. to Interrog.

No. 6. This new theory, which contradicted Plaintiff’s counsel’s prior statement that Plaintiff was

never an exempt supervisor, Exhibit C, was raised for the first time after Defendants had made it

known that they were unable to produce text messages exchanged between Ms. Zegna and Plaintiff



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prior to late Fall/early Winter 2019.

         In serving discovery responses, Plaintiff failed to produce any text messages between Ms.

Zegna and Plaintiff. It was later discovered that Plaintiff had once had the text messages in his

possession; however, he had failed to preserve them and then lost them when his phone was stolen

out of his unlocked car in July or August 2022. Exhibit M – Declaration of Thomas Fowler ¶¶ 22-

36. Thereafter, the parties engaged in substantial motions practice related to Defendants’ Motion

to Dismiss and/or for Other Relief as Spoliation Sanctions (ECF No. 23). The exclusive reasons

the spoliation motion and associated briefing was necessary is Plaintiff’s and his counsel’s failure

to preserve the text messages when it became clear they were relevant to discovery. 2 Exhibit B.

         Only after the spoliation motion was decided did Plaintiff reach out to Defendants’ counsel

regarding settlement for the first time. Exhibit N – Email String Between Liew and Feinberg, June

19-20, 2023. Defendants’ counsel indicated that the parties should try to settle. Id. Six weeks

later, Plaintiff made its first settlement demand, seeking the maximum possible recovery Plaintiff

believed at the time could be awarded, i.e., three times the amount Plaintiff’s expert witness

claimed was due under Plaintiff’s theory of the case. Exhibit O – Letter from Liew to Feinberg,

Aug. 2, 2023. After much discussion with Defendants, Defendants’ counsel responded on October

30, 2023. Exhibit P – Email from Feinberg to Liew and Hoffman, Oct. 30, 2023. Plaintiff rejected

the offer without making a counter-offer. Exhibit Q – Email from Hoffman to Feinberg, Oct. 31,

2023.




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        Plaintiff committed other discovery failures. Notably, despite Plaintiff’s obligation to
supplement his interrogatory responses in a timely manner, Fed. R. Civ. P. 26(e)(1)(A), Plaintiff
never supplemented the interrogatory responses to disclose his felony conviction for assaulting a
police officer. The conviction was well-known to Plaintiff’s counsel, as Plaintiff’s counsel seeks
payment of attorneys’ fees related to difficulties communicating with Plaintiff while he was
incarcerated. ECF No. 73-2 at 30-31.
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         As trial approached, Defendants’ counsel attempted to encourage Plaintiff to engage in

settlement discussions again, without much success. Exhibit D ¶ 17 (describing communications

as “like pulling teeth” to encourage Plaintiff’s counsel to negotiate).        However, eventually

Defendants’ counsel was able to break through, and negotiations occurred during the week of May

20, 2024. Id. ¶ 18. On May 24, 2024 (at 3:37 p.m.), Defendants’ counsel presented a best and

final offer of $9,336.54 to Plaintiff. Exhibit R – Email from Feinberg to Liew, May 24, 2024.

Time was of the essence, because the parties had pre-trial filings (pretrial order, voir dire, jury

instructions, verdict sheet) due on May 27, 2024. ECF No. 39. Defendants’ counsel noted that, if

the offer was accepted, the parties should notify the court of the settlement in order to avoid both

the parties and the court from engaging in additional pretrial activities. Exhibit R.

         In a response at 7:16 p.m., Plaintiff’s counsel accepted the settlement as to amount and the

process for determining an attorneys’ fees award. Exhibit S – Email from Liew to Feinberg, May

24, 2024, with attachment. Plaintiff’s counsel indicated, however, that it was “unwilling to stop

work and miss deadlines while the Parties work up a settlement agreement.” Id. Despite having

no authority to issue an offer of judgment, Fed. R. Civ. P. 68 (“a party defending against a claim

may serve . . . an offer to allow judgment”), and the parties having no prior discussions regarding

an offer of judgment (all prior correspondence had been identified as “settlement” discussions, and

an offer of judgment is fundamentally different than a settlement), Plaintiff’s counsel “propose[d]”

that Defendant issue an offer of judgment, which Plaintiff’s counsel spent 1.3 hours drafting that

day on Defendants’ behalf. Id.; see also ECF No. 73-2 at 51. Because an offer of judgment would

result in a money judgment being entered against Defendants, Defendants acknowledged that the

parties had reached a settlement but declined the proposed method of effectuating that settlement.

At 8:55 p.m., Defendants’ counsel provided a draft settlement agreement which reflected the



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agreement of the parties and incorporated the terms included in the offer of judgment. Exhibit T

– Email from Feinberg to Liew, May 24, 2024, with attachments.

         Despite the settlement agreement reflecting exactly what Plaintiff had included in its offer

of judgment, Plaintiff’s counsel refused to acknowledge the parties had reached an agreement on

all material terms. Exhibit D ¶ 23. The parties worked a substantial number of hours through the

weekend to prepare pretrial submissions. Id. ¶ 24; ECF No. 73-2 at 51-55. On May 27, 2024,

Defendants’ counsel inquired of Plaintiff’s counsel, “in the interests of trying to see if there is any

common ground to be reached that could avoid the expense of litigating the motion to enforce

[settlement] and preparing for trial, I am asking what you need to make yourself comfortable with

the settlement agreement process?” Exhibit U – Email String between Feinberg and Hoffman,

May 27, 2024. Plaintiff’s counsel responded with requests that were already in line with what the

parties had previously agreed to (albeit using slightly different language), and Defendants’ counsel

agreed without objection. Exhibit D ¶ 25.

      II.         LEGAL STANDARD

         Generally, a prevailing party is entitled under the FLSA to recover reasonable attorney’s

fees, a determination that lies within the Court’s sound discretion. 29 U.S.C. § 216(b); Guillen v.

Armour Home Improvement, Inc., Civil Action No. DLB-19-2317, 2024 WL 1346838, at *1 (D.

Md. Mar. 29, 2024). Although there are courts in this district that have indicated that an award of

attorneys’ fees is mandatory in FLSA cases, Andrade v. Aerotek, Inc., 852 F. Supp. 2d 637, 640

(D. Md. 2012), courts maintain the discretion to deny an award of attorneys’ fees under certain

circumstances, see, e.g., Goss v. Killian Oaks House of Learning, 248 F. Supp. 2d 1162, 1168

(S.D. Fla. 2003) (denying motion for attorneys’ fees in FLSA case where matter resulted in a

nuisance settlement and the case “could have been disposed of by making a few phone calls before



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filing suit” and counsel’s conduct unnecessarily increased cost of litigation). In those cases where

a fee is appropriate, courts apply a reasonableness standard. Amaya v. Power Design, Inc., Civil

Case No. 14-00446-JMC, 2018 WL 690838, at *2 (D. Md. Feb. 2, 2018) (citing Beam v. Dillon’s

Bus Serv., Inc., Civ. No. DKC-14-3838, 2015 WL 4065036, at *5 (D. Md. July 1, 2015)). “A

reasonable fee is a fee that is sufficient to induce a capable attorney to undertake the representation

of a meritorious . . . case.” Ford v. Karpathoes, Inc., Civil Action No. ELH-14-00824, 2015 WL

736809, at *5 (D. Md. Feb. 19, 2015) (internal quotation marks omitted) (quoting Perdue v. Kenny,

559 U.S. 542, 552 (2010)).

         When awarding attorneys’ fees in a given FLSA case, courts in this district utilize a three-

step process to determine the reasonableness of the award. McAfee v. Boczar, 738 F.3d 81, 88 (4th

Cir. 2013). First, the Court determines the lodestar amount, i.e., “‘a reasonable hourly rate

multiplied in hours reasonably expended.’” Guillen, 2024 WL 1346838, at *1 (quoting Grissom

v. The Mills Corp., 549 F.3d 313, 320-21 (4th Cir. 2008)). The Court’s analysis must be guided

by twelve factors known as the “Johnson factors.” Id. (citing Johnson v. Ga. Highway Express,

Inc., 488 F.2d 714, 717-19 (5th Cir. 1974), abrogated on other grounds, Blanchard v. Bergeron,

489 U.S. 87 (1989)). These include:

         (1) the time and labor expended; (2) the novelty and difficulty of the questions
         raised; (3) the skill required to properly perform the legal services rendered; (4) the
         attorneys’ opportunity costs in pressing the instant litigation; (5) the customary fee
         for like work; (6) the attorneys’ expectations at the outset of the litigation; (7) the
         time limitations imposed by the client or circumstances; (8) the amount in
         controversy and the results obtained; (9) the experience, reputation and ability of
         the attorney; (10) the undesirability of the case within the legal community in which
         the suit arose; (11) the nature and length of the professional relationship between
         attorney and client; and (12) attorneys’ fees awards in similar cases.

Id. at *2 (quoting Barber v. Kimbrell’s, Inc., 577 F.2d 216, 226 (4th Cir. 1978)). Second, “the

Court must subtract fees for hours spent on unsuccessful claims unrelated to successful ones.” Id.



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(internal quotation marks omitted) (quoting McAfee, 738 F.3d at 88) (quoting Robinson v. Equifax

Info. Servs., LLC, 560 F.3d 235, 244 (4th Cir. 2009)). And, third, “the court should award some

percentage of the remaining amount, depending on the degree of success enjoyed by the plaintiff.”

Id. (internal quotation marks omitted) (quoting Robinson, 560 F.3d at 244).

         When applying for an award of attorneys’ fees, the burden rests with the party seeking fees

to establish “the reasonableness of his hourly rate with specific evidence” as well as the

reasonableness of the hours expended in pursuit of the case. Newport News Shipbuilding and Dry

Dock Co. v. Holiday, 591 F.3d 219, 230 n.12 (4th Cir. 2009) (citing Spell v. McDaniel, 824 F.2d

1380, 1402 (4th Cir. 1987)); see also Jones v. Dancel, 792 F.3d 395, 404 (4th Cir. 2015) (plaintiff

“bears the burden of demonstrating that the requested fees are reasonable.”) (citing Fair Hous.

Council of Greater Wash. v. Landow, 999 F.2d 92, 97-98 (4th Cir. 1993)). Specifically, a party

seeking fees bears the burden of “‘documenting the appropriate hours expended and hourly rates.’”

Ford, 2015 WL 736809, at *5 (quoting Hensley v. Eckerhart, 461 U.S. 424, 437 (1983)). This

means counsel “‘should make a good faith effort to exclude from a fee request [any] hours that are

excessive, redundant, or otherwise unnecessary, just as a lawyer in private practice ethically is

obligated to exclude such hours from his fee submission.’” Id. (quoting Hensley, 461 U.S. at 434).

Indeed, “[h]ours that are not properly billed to one’s client also are not properly billed to one’s

adversary pursuant to statutory authority.” Id. (internal quotation marks omitted) (quoting

Hensley, 461 U.S. at 437) (quoting Copeland v. Marshall, 641 F.2d 880, 891 (D.C. Cir. 1980) (en

banc) (emphasis added by Copeland court)).

         “A prevailing plaintiff is entitled to recover costs as well, but ‘only for reasonable litigation

expenses.’” Id. (quoting Daly v. Hill, 790 F.2d 1071, 1084 (4th Cir. 1986)). “The shifting of

federal litigation expenses is generally governed by statute.” Hampton v. Am. Plumbing & Sewer,



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Inc., 95 F.3d 1154, 1996 WL 479227, at *1 (7th Cir. Aug. 21, 1996). The FLSA allows for the

recovery of “a reasonable attorney’s fee . . . and the costs of the action.” 29 U.S.C. § 216(b). Thus,

whether a prevailing party may recover a costs award for a specific item of cost turns on whether

that item of cost constitutes a “reasonable attorney’s fee” or “costs of the action.” Id.

                A.     Calculating the Lodestar Amount

                       1.      Reasonable Hours

         Billed hours are included in the lodestar calculation only if they went toward producing

material that had a “bearing on the ultimate results obtained.” Molina v. KP Stoneymill, Inc., Civil

Action No. GLS-19-3123, 2021 WL 2805838, at *5 (D. Md. 2021); see also Imgarten v. Bellboy

Corp., 383 F. Supp. 2d 825, 839 (D. Md. 2005) (“In other words, ‘plaintiffs are to be compensated

for attorney’s fees incurred for services that contribute to the ultimate victory in the lawsuit.’”)

(citation omitted) (emphasis added). As noted above, hours “that are excessive, redundant, or

otherwise unnecessary” cannot be included. Molina, 2021 WL 2805838, at *5; see also Rum Creek

Coal Sales, Inc. v. Caperton, 31 F.3d 169, 178 (4th Cir. 1994) (affirming trial judge’s “disallow[al]

[of] [Plaintiff’s] request for fees and expenses in connection with various items of work that . . .

were unnecessary for the prosecution of the litigation.”); Bel Air Plaza LP v. Ross Dress for Less,

Inc., Civil Action No. CCB-14-2533, 2016 WL 3440191, at *4 (D. Md. 2016) (reducing the hours

billed on a brief in half when the attorney was “expected” to be more efficient, the brief was short,

and the law and facts were simple). Time spent conducting “clerical” tasks are also not included

when calculating the lodestar. See Molina, 2021 WL 2805838, at *6 (“[T]he Court observes a few

entries for ‘preparing the complaint package’ and ‘calendaring deadlines’ and ‘preparing

documents for mediation.’ These are non-compensable forms of clerical work that have been

stricken.”); see also Missouri v. Jenkins by Agyei, 491 U.S. 274, 288 n.10 (1989) (“purely clerical



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or secretarial tasks should not be billed at a paralegal rate . . . .”).

           Time an attorney spends on tasks that a paralegal or assistant could have completed is also

stricken as unreasonable. See Bel Air Plaza LP, 2016 WL 3440191, at *4 (“It is unreasonable to

bill a client at an experienced attorney’s full rate for this kind of administrative work. In light of

this, and the excessive time spent litigating the fee petition, these 12.4 hours will be excluded from

Bel Air’s award.”). Finally, hours spent on unnecessary travel must be stricken, especially when

the task could have been achieved without the travel. See e.g., Spencer v. Central Servs., LLC,

Civil No. CCB-10-03469, 2012 WL 142978, at *3 (D. Md. 2012) (“4.6 hours will be reduced from

the plaintiffs’ total because, as the plaintiffs acknowledge, billing for travel time to Baltimore to

file documents which could be filed by mail is not necessary (particularly at an attorney’s billing

rate)”).

                          2.     Reasonable Rate

           “An hourly rate is reasonable if it is ‘in line with those prevailing in the community for

similar services by lawyers of reasonably comparable skill, experience, and reputation.’” Duprey

v. Scotts Co., LLC, 30 F. Supp. 3d 404, 412 (D. Md. 2014) (citations omitted). “In Appendix B to

its Local Rules . . ., this Court has established rates that are presumptively reasonable for lodestar

calculations.” Id. (citing Poole ex rel. Elliott v. Textron, Inc., 192 F.R.D. 494, 509 (D. Md. 2000));

Sibrian v. Superior Auto Detailing, LLC, Civil Action No. 22-cv-00169-LKG, 2024 WL 2941267,

at *6 (D. Md. 2024) (citing the 2023 edition of the Local Rules). This Court routinely applies the

Appendix B rates in FLSA litigation and has recently rejected some attempts to exceed these rates.

Guillen, 2024 WL 1346838, at *3.

                  B.      Subtracting Unsuccessful Claims From The Lodestar

           After establishing the lodestar, the Court typically considers whether it is necessary to



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subtract hours spent on any unsuccessful claims. See Johnson v. City of Aiken, 278 F.3d 333, 337

(4th Cir. 2002). It is not here since the Parties agreed, for purposes of the Motion, that Plaintiff is

to be deemed the prevailing party. Defendants challenge only the reasonableness of Plaintiff’s

counsel’s hours and rates.

                C.      The Degree of Success

         In the final step of the analysis, the Court determines whether Plaintiff’s level of success

in this action makes counsel’s expended hours a “satisfactory basis for making a fee award.”

McAfee, 738 F.3d at 92 (citations omitted). The Court “‘compare[s] the amount of damages sought

to the amount awarded.’” Randolph v. Powercomm Constr., Inc., 715 F. App’x 227, 231 (4th Cir.

2017) (quoting Mercer v. Duke Univ., 401 F.3d 199, 204 (4th Cir. 2005)). Where a plaintiff seeks

damages under the federal FLSA and the state MWPCL and MWHL, even where the claims arise

from the same set of facts, the Court often looks to the remedies available under the claims to

determine level of success. As this Court (Coulson, J.) noted in Amaya v. Power Design, Inc.:

         Plaintiff’s state claims, if successful, theoretically could have increased the amount
         of recoverable damages to those allowed in the treble damages provisions [of the
         MWPCL], and also could have led to injunctive relief. Losing the availability of
         such damages . . . could support a reduction based on a “lack of success” analysis
         ....

2018 WL 690838, at *5. Whether to reduce the award based on lack of success under such

circumstances depends, at least in part, on the public purpose and benefits of the lawsuit. Id.; see

also Corral v. Montgomery County, 91 F. Supp. 3d 702, 720 (D. Md. 2015) (reasoning a public

purpose was served by the plaintiff’s action since it caused the county’s position to “evolve[] in

favor of First Amendment rights.”); Mercer v. Duke University, 401 F.3d 199, 208 (4th Cir. 2005)

(reasoning the case served much more than the plaintiff’s interests because it was “the first of its

kind” that “will serve as a guidance to other schools facing similar issues.”).



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    III.        ARGUMENT

         In his Motion for Attorneys’ Fees and Costs, Plaintiff seeks an award of $104,519.00 in

attorneys’ fees and $4,893.49 in costs. This amount is disproportionate to the case and excessive

in light of the standard of review applicable in this district. Defendants address the relevant three-

step process and proposed deductions from the fee award, below, in turn.

                A.      The Lodestar Calculation

         As noted above, the initial lodestar amount is calculated by multiplying a reasonable hourly

rate times a number of hours reasonably expended. Guillen, 2024 WL 1346838, at *1.

                        1.     Reasonable Hourly Rate

         Plaintiff seeks an hourly rate of $475 for Howard Hoffman (“Mr. Hoffman”) and $315 for

Jordan Liew (“Mr. Liew”). ECF No. 73 at 9 (Hoffman), 10 (Liew). The rate charged for Mr.

Hoffman is in line with the presumptively reasonable rates established in Appendix B to the Local

Rules of this Court. Accordingly, Defendants do not seek an adjustment of Mr. Hoffman’s hourly

rate. Defendants object to Mr. Liew’s hourly rate of $315, however.

         The Johnson factors applicable to a determination of an attorneys’ reasonable hourly rate

are factors 3 (skill required to properly perform the services), 4 (attorneys’ opportunity costs in

pressing the litigation), 5 (customary fee for like work), 6 (attorneys’ expectations), and 9

(experience, reputation, and ability of the attorney). McAfee, 738 F.3d at 89. An analysis of these

factors indicates a reduction in Mr. Liew’s hourly rate is appropriate.

         Mr. Liew is alleged to have been admitted to the Maryland Bar in 2016. ECF No. 73 at

10. When this action was filed (on September 22, 2021), Mr. Liew had been admitted to the

Maryland Bar for less than five years. The presumptively reasonable rates established in Appendix

B to the Local Rules of this Court dictate that an attorney with less than five years of experience



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should be awarded a reasonable hourly rate of between $150 and $225, and an attorney with five

to eight years of experience should be awarded a reasonable hourly rate of between $165 and $300

per hour. Even today, Mr. Liew has not reached eight years of experience, however, for the entire

duration of this case, Mr. Liew has been charging an hourly rate that exceeds the presumptively

reasonable hourly rate band for an attorney with eight years of experience. Plaintiff suggests that

the $315 rate sought is “slightly higher than Appendix B of the Local Rules,” but that is not the

case. For work performed in 2022, for instance, Mr. Liew was charging $315 per hour, when the

presumptively reasonable rate in Appendix B was no more than $225 (roughly 40% higher than

the presumptively reasonable rate). Plaintiff has not offered an affidavit or declaration from a local

attorney to attest that a $315 rate was reasonable at any time during this litigation. Butler v. PP&G,

Inc., Civil Action No. 20-3084-JRR, 2023 WL 6517593 (D. Md. Oct. 5, 2023) (claims that the

presumptively reasonable rates should be exceeded “usually take[] the form of affidavits from

other counsel attesting to their rates or the prevailing market rate.”).

         As Plaintiff admits, this was not a complicated case from a merits perspective. ECF No.

73 at 18-19. Plaintiff’s counsel could not have anticipated a significant fee for a case where the

maximum wage claim amounted to approximately $14,000.00. ECF No. 1. However, it was made

more complicated, and the scope of the litigation increased significantly, as a result of Plaintiff’s

counsel’s failure to ensure the preservation of relevant discovery material at the outset of the case,

even when notified the information would be relevant.

         Plaintiff claims lost opportunity costs during Mr. Liew’s trial preparations, ECF No. 73 at

19, the Motion does not explain why Mr. Hoffman was unable to pick up the slack (particularly

when he allegedly dedicated a total of 34 hours to the case over the course of more than three

years). Thus, the relevant Johnson factors support a reduction in Mr. Liew’s hourly rate.



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         Plaintiff’s contention that Appendix B is ten years old and should be adjusted for inflation

is without merit. ECF No. 73 at 15. Plaintiff offers no legal authority to support an upward

adjustment based on inflation, and Defendants have been unable to locate any. Rather, this Court

(Xinis, J.) rejected an inflationary adjustment to the Appendix B rates on an FLSA fee motion just

one year ago and adjusted the requested rate to fall within the Appendix B guidelines. See Green

v. Central Towing, Inc., Civil Action No. 8:21-cv-00030-PX, 2023 WL 2788623, at *2 (D. Md.

Apr. 5, 2023). It is also important to note that the Local Rules were amended effective July 1,

2023 (and by supplement in September 2023). During that time, the nation was experiencing

significant inflation, yet the Rules Committee did not adjust the rates. Thus, it must be assumed

that the Rules Committee did not believe that an inflationary adjustment was appropriate.

         Absent any legitimate justification for awarding Mr. Liew an hourly rate so far outside the

Appendix B guidelines, Defendants suggest that Mr. Liew’s hourly rate should be calculated at

blended rate of $260, given the large number of hours billed in 2022 and 2024.

                        2.      Hours Reasonably Expended

         Johnson factors 1 (time and labor expended), 2 (novelty and difficulty of the questions),

and 7 (time limitations imposed by the client or circumstances) generally relate to the reasonable

hours expended in furtherance of a case. As Plaintiff acknowledges, this case did not raise novel

or difficult questions. ECF No. 73 at 18. And Plaintiff does not suggest that there were specific

time limitations imposed by the client or circumstances. Thus, those factors do not weigh in favor

of a significant award. With regard to the time and labor required in this case, the facts suggest

this matter was substantially overbilled, and a significant reduction is appropriate.

                                a.     Discovery

         Plaintiff seeks compensation for 20.3 hours by Mr. Liew responding to written



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interrogatories and requests for production and 5.8 hours for responding to requests for admissions.

This was excessive given the general lack of detail included in the responses to interrogatories,

Exhibit L, the small number of documents produced in response to requests for production (42

pages in total), Exhibit D ¶ 26, and the admitted lack of knowledge sufficient to respond to the

admissions, Exhibit V – Plaintiff’s Resps. To Reqs. For Adms. The Court should reduce these

hours by roughly 40%, or by 10.4 hours. See Guillen, 2024 WL 1346838, at *8 (reducing requested

hours by 40% for incurring “significantly more hours than is reasonable”).

         In addition, Plaintiff seeks compensation for 47.7 hours for Mr. Liew to review discovery

documents over the course of the entire case. In this simple, straightforward wage-and-hour case,

with relatively few responsive documents produced by the parties, the billing was excessive. By

way of example, 47.7 hours of time at Mr. Liew’s requested rate of $315 per hour alone exceeds

the maximum value of Plaintiff’s wage claims, even if treble damages were awarded. The Court

should reduce these hours by roughly 40%, or by 19.1 hours. See id. (reducing requested hours by

40% for incurring “significantly more hours than is reasonable”).

                               b.     Discovery Disputes

         On April 13, 2022, Plaintiff served a 25-page motion to compel answers to interrogatories

and 10-page motion to compel first set of requests for production of documents. Exhibit G. Local

Rule 104(8) requires a party to attempt to resolve a discovery dispute informally prior to serving

a motion to compel. Plaintiff did not attempt to do so. The motions raised a number of purported

issues not previously disclosed to Defendants’ counsel. Ultimately, the parties were able to resolve

the dispute quickly, and Plaintiff’s counsel abandoned the motions to compel. Plaintiff seeks 6.5

hours for matters related to the motions to compel. Those hours should be stricken in their entirety.




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                                c.      Motions Practice

         Plaintiff is not new to the court system nor is he unfamiliar with litigation as he litigated a

prior unpaid overtime action before commencing suit against Defendants. See Fowler v. OC

Jewish Deli and Diner, LLC, Case No. 1:19-cv-01966-SAG. In fact, he was represented by the

same counsel in that action as he is in this case. Id. Despite that experience, Plaintiff failed to

take any affirmative steps to safeguard text messages he exchanged with Ms. Zegna during his

tenure at Blacksmith, which Defendants contend served as contemporaneous, irrefutable evidence

of his managerial status. See generally ECF No. 23.

         That failure is observed in the record with Judge Coulson faulting Plaintiff for his inaction.

ECF No. 29 at 7. The Report and Recommendation states, in relevant part:

         However, where Plaintiff was on notice that text messages, as the primary form of
         ‘written communication,’ between him and his employer, would be important
         evidence of the nature and extent of Plaintiff’s job duties at various points during
         his employment (a central issue in the case), it was not reasonable to simply
         maintain those text messages only on his phone without at least verifying that they
         were being backed up to a cloud service or otherwise taking affirmative steps to
         create a copy given the not uncommon occurrence of a phone getting damaged, lost,
         or stolen.

Id. (emphasis added). Defendants therefore submit that the time Mr. Liew and Mr. Hoffman

expended to address Plaintiff’s failure should be completely stricken, this includes: 5.8 hours billed

by Mr. Liew in preparing Plaintiff’s Responses to Defendants’ First Set of Requests for

Admissions (all requests therein were focused on Mr. Fowler’s recollection of his text messages),

ECF No. 73-2 at 31; 35.2 hours for Mr. Liew and 0.5 hours for Mr. Hoffman billed in opposing

Defendant’s Motion for Sanctions And Or Other Relief As Spoliation Sanctions, id. at 32-35; and

10.1 hours by Mr. Liew and 0.4 hours by Mr. Hoffman billed in responding to Defendants’

Objections to the Report and Recommendation, id. at 36-37. Defendants thus request a reduction

of 51.1 hours in Mr. Liew’s time and 0.9 hours of Mr. Hoffman’s time as a result of Mr. Fowler’s

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failure to preserve his text messages.

                               d.        Trial Preparation

         The parties reached a settlement in principle as to Plaintiff’s liability claims on Friday,

May 24, 2024. Exhibit D ¶¶ 19-22. Despite that agreement, Plaintiff’s counsel insisted on

continuing to prepare for trial, rather than simply review, propose edits to, and execute the

settlement agreement, which would have obviated the need to continue pretrial preparations.

Despite the agreement on material terms of a settlement, Mr. Liew charged 8.9 hours for trial

preparation thereafter. It was unreasonable to do under the circumstances, and the Court should

strike those fees as unnecessary increasing the scope of the litigation. Indeed, those hours were

entirely avoidable had Plaintiff’s counsel simply reviewed the settlement agreement when

provided by Defendants’ counsel.

                               e.        Fee Petition

         Plaintiff seeks compensation for 20.4 hours for the preparation of Plaintiff’s fee petition

(3.8 by Mr. Hoffman; 16.6 by Mr. Liew). This item included 1.2 hours by Mr. Liew for reviewing

“billing records for billing discretion” and 3.8 hours for Mr. Hoffman to, among other things,

“review time records” and engage in multiple telephone conferences with Mr. Liew. Plaintiff’s

Motion does not identify any actual entry that was reduced or excised as a result of a billing

discretion review. Instead, it just suggests a 5% across-the-board reduction is offered to “eliminate

any unreasonable redundancy, duplication, or clerical task.” ECF No. 73 at 25. Moreover,

Plaintiff’s counsel represent employees frequently in wage and hour litigation. A significant

portion of the fee petition is similar to fee petitions filed in other cases. Compare Exhibit W –

Pla’s Motion for Attorneys’ Fees and Costs in Hoffman v. Bear Chase Brewing Co., LLC, 1:21-

cv-01443-DJN-WEF (E.D. Va. May 26, 2023), at 20 (“By any standard, this case was a smashing



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success achieved by skill, determination, and persistence.”), with ECF No. 73 at 23 (“Here,

Plaintiff was substantially more successful, and by any standard, this case was a smashing success

achieved by skill, determination, and persistence.”). Defendants suggest an approximate 30%

reduction in the time spent drafting the fee petition to adjust for improper and overbilled charges.

See Guillen, 2024 WL 1346838, at *13 (reducing request for fees related to fee petition by 30% in

part because of redundant work and the fact that the fee petition was similar to a fee petition filed

in another case). This results in billable hours reduction of 1.1 hours for Mr. Hoffman and 5.0

hours for Mr. Liew.

                f.     Additional Reductions – Billing Discretion

         A review of Plaintiff’s billing records as a whole shows repeated instances of Mr. Liew

performing clerical work or work more appropriately performed by an assistant. Clerical work is

non-compensable on a fee petition.       See id. at *12 (fee awards should not include “non-

compensable tasks like clerical work”). The billing records show Mr. Liew scheduling and

calendaring tasks and discussing scheduling and calendaring with Mr. Hoffman. See generally,

e.g., ECF No. 73-2 at 6, 17. Mr. Hoffman billed 1.2 hours total to drafting a letter regarding waiver

of service and completing the service forms, as well as “assembl[ing] materials and transmit[ting

them] via US Priority.” Id. at 3. In addition, both attorneys billed for internal conferences on

several occasions, including 0.7 hours for an internal conference regarding drafting of discovery.

Id. at 8. For duplicative, excessive, redundant and otherwise unnecessary work, Defendants submit

that an additional 5% across-the-board reduction is appropriate.

                g.     Defendants’ Proposed Initial Lodestar

         Overall, Plaintiff seeks 298.0 hours for Mr. Liew and 34.0 hours for Mr. Hoffman.

Factoring in the requested reductions described herein leaves 197.0 compensable hours for Mr.



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Liew and 32.0 compensable hours for Mr. Hoffman. Multiplying those hours by the reasonable

hourly rates described herein results in a calculation of $64,450 ($49,250 for Mr. Liew and $15,200

for Mr. Hoffman). Applying the additional 5% across-the-board discount for lack of billing

discretion results in an initial lodestar of $61,227.50.

                B.      Subtraction of Fees Spent on Unsuccessful Claims

         The second step in the fee award analysis involves the Court determining whether to

subtract hours spent on any unsuccessful claims unrelated to successful ones. McAfee, 738 F.3d

at 91. As all of Plaintiff’s claims arise out of the same operative facts, Defendants do not seek a

reduction in fees spent on unsuccessful claims (except to the extent relevant to the degree of

success analysis, infra).

                C.      Reduction Based on Degree of Success

         It is also appropriate to reduce the lodestar amount due to Plaintiff’s failure to obtain full

success on his claims. As noted above, in step three of the fee award analysis, the Court

“‘compare[s] the amount of damages sought to the amount awarded.’” Randolph, 715 F. App’x at

231 (citations omitted). In his Complaint, Plaintiff sought treble damages under the MWPCL and

MWHL. ECF No. 1 at 9. Plaintiff’s specific claim in the Complaint was that he was owed

$12,787.89 (including treble damages). Id. ¶ 43. Plaintiff then retained an expert, who increased

that damages claim to $14,323.80. Exhibit X – Plaintiff’s Expert Report, May 9, 2022, at 3.

Through settlement, Plaintiff ultimately recovered $9,336.54, or 65.18% of the expert’s

calculation. 3 In his Motion, Plaintiff claims he “sought and received, virtually everything he

sought, including liquidated damages (2.0x damages) and a complete recovery under the FLSA.”




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        On May 23, 2024, less than a month before trial was to begin, Plaintiff amended his expert
report to suggest Plaintiff’s claim (including treble damages) equaled $14,004.81.
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ECF No. 73 at 23. This position ignores the lack of success on the MWPCL and MWHL claims

and the fact that Plaintiff expressly sought, in the Complaint and in two expert reports, treble

damages that he did not recover.

         This Court (Coulson, J.), has contemplated that such circumstances could support a

reduction based on a “lack of success” analysis. Amaya, 2018 WL 690838, at *5; see also Matias

Guerra v. Teixeira, Civil Action No. TDC-16-0618, 2019 WL 3927323, at *10 (D. Md. Aug. 20,

2019) (reducing lodestar by 5% due to plaintiff’s failure to recover treble damages). In Amaya,

2018 WL 690838, at *5, the Court declined to substantially reduce the award because “several

factors” specific to that case “mitigate[d] against a significant reduction.” Specifically, the

plaintiffs in that case “clarified a previously unanswered question of law regarding the interaction

between FLSA, [Davis-Bacon Act, and [Contract Work Hours and Safety Standards Act] that will

benefit future plaintiffs similarly situated[,] meaning “the effect of a case reaches well beyond”

the individual parties “and serves a public purpose . . . .” Id. Given the benefit to the public of the

case, the Court reduced the fee award by only 15% (rather than the 35% requested by the

defendants). Id.

         Here, Plaintiff obtained a settlement of approximately 65% of the amount Plaintiff sought

in the suit. While that demonstrates some success, it is not a complete recovery. Meanwhile, this

case did not serve any public benefit or purpose. On the other hand, the overall success of the case

is marred by the fact that the settlement was obtained at least in part because Plaintiff and

Plaintiff’s counsel failed to preserve relevant text messages exchanged between the parties. ECF

No. 29 at 9. Although Defendants were unable to prove to the Court’s satisfaction that Plaintiff

intended to deprive Defendants of the relevant communications, the Court nevertheless found a

negligent failure to preserve relevant evidence.       See generally id.     The failure to preserve



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substantially increased the scope and cost of the litigation. Thus, awarding Plaintiff the fees he

seeks would amount to a windfall, well out of proportion to the scope of the litigation as a whole.

See Butler, Civil Action No. DKC 10-2747, 2016 WL 1077158, at *6 (D. Md. Mar. 18, 2016)

(“The district court should reduce the award if the relief, however significant, is limited in

comparison to the scope of the litigation as a whole.”) (internal quotation marks omitted) (quoting

McAfee, 738 F.3d at 92). Indeed, it would be contrary to a public purpose to award Plaintiff a full

fee here; essentially, it would reward Plaintiff for the negligent failure to preserve documents—a

basic requirement of litigation that all attorneys must follow and which is intended to ensure that

litigation matters are resolved on their merits. In order to adjust for a lack of total success on

Plaintiff’s total claim, accord with the public purpose of the Court’s Rules, and avoid a windfall

for Plaintiff’s counsel, Defendants suggest that a 30% reduction from the adjusted lodestar is

appropriate. This would result in a final award of $42,859.25 ($61,227.50 x 70%).

                D.      Reduction in Claimed Costs

         Plaintiff also seeks an award of costs in the amount of $4,893.49. Relevant to this dispute,

Plaintiff seeks $1,102.50 in costs for an expert witness; $64.68 for travel visiting Plaintiff while

he was incarcerated at the Baltimore County Detention Center; and $429.25 for copying charges.

Defendants object to this Court awarding costs for these items.

         First, Plaintiff seeks expert witness fees in the amount of $1,102.50. However, Plaintiff

cannot recover expert witness costs in an FLSA case. In Gortat v. Capala Brothers, Inc., 795 F.3d

292, 296 (2d Cir. 2015), the Second Circuit explained that “[t]he Supreme Court has made clear

on multiple occasions that, absent explicit statutory authorization, a district court may not award

reimbursement for expert fees beyond the allowances authorized by 28 U.S.C. § 1920, as limited

by 28 U.S.C. § 1821” i.e., per diem and travel allowances. In conjunction with a detailed analysis,



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the Court concluded that the FLSA “does not authorize district courts to award costs reimbursing

plaintiffs for expert fees.” Id. Specifically, the FLSA’s reference to costs “does not constitute

explicit statutory authorization to award expert fees.” Id. Because expert fees are not recoverable

in FLSA litigation, the Court must decline to award them here.

         Second, Plaintiff seeks $64.68 for mileage traveling to visit Plaintiff while he was

incarcerated, to obtain a signature for a declaration. Plaintiff’s billing statements indicate that

Plaintiff’s counsel was able to communicate with Plaintiff while he was incarcerated. ECF No.

73-2 at 31-33. Plaintiff’s counsel was also in touch with Plaintiff’s mother regarding Plaintiff’s

status, and there is no reason to believe that Plaintiff’s mother could not have visited Plaintiff to

obtain the signature and then mailed or scanned the signed declaration to Plaintiff’s counsel.

Defendants was not responsible for Plaintiff’s incarceration, and Defendants should not be

responsible for paying for Plaintiff’s counsel to travel to Baltimore County to sign a declaration

while incarcerated. The Court should deny those costs in the amount of $64.68.

         Plaintiff also seeks payment for 1,717 copies at a rate of $0.25 per page. Plaintiff does not

disclose why these costs were incurred or explain how they were reasonable in light of the

circumstances of the case. Indeed, almost all communications between Plaintiff’s counsel and

Defendant’s counsel were conducted by telephone or email.             Plaintiff bears the burden of

establishing the costs are reasonable litigation expenses, and Plaintiff has failed to do so. The

Court should deny those costs in the amount of $429.25.

         Against this backdrop, Defendants submit that Plaintiff’s request for an award of costs

should be limited to $3,297.06.




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     IV.        CONCLUSION

         Based on the foregoing, Defendants request that the Court enter an attorneys’ fees award

of no more than $42,859.25, and a costs award of no more than $3,297.06.


                                                     Respectfully submitted,


         Dated: July 2, 2024                         /s/ Matthew E. Feinberg
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                                                     Counsel for Defendants, Tenth Planet, Inc.
                                                     and Justine Zegna




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on July 2, 2024, a copy of Defendants’, Tenth Planet, Inc. and

Justine Zegna, foregoing Opposition to Plaintiff’s Motion for Attorneys’ Fees and Costs was

electronically filed via the CM/ECF system, which will send a notification of such filing to:


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         Fowler


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